      Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 1 of 28




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


ADAMA SOW, DAVID JAKLEVIC, ALEXANDRA DE
MUCHA PINO, OSCAR RIOS, BARBARA ROSS,
MATTHEW BREDDER, SABRINA ZURKUHLEN,
MARIA SALAZAR, DARA PLUCHINO, and SAVITRI
DURKEE, on behalf of themselves and others similarly
situated,

                                   Plaintiffs,

                 - against -                           21-CV-533 (CM) (GWG)

CITY OF NEW YORK; MAYOR BILL DE BLASIO;
NEW YORK CITY POLICE DEPARTMENT
COMMISSIONER DERMOT SHEA; NEW YORK CITY
POLICE DEPARTMENT CHIEF OF DEPARTMENT
TERENCE MONAHAN; NYPD DETECTIVE EDWARD
CARRASCO (SHIELD NO. 1567); NYPD OFFICER
TALHA AHMAD (SHIELD NO. 21358); NYPD
OFFICER KEVIN AGRO (SHIELD NO. 8054); and
NYPD OFFICERS JOHN and JANE DOES # 1- 40,

                                   Defendants.




 MEMORANDUM OF LAW IN SUPPORT OF PLAINTIFFS’ UNOPPOSED MOTION
    FOR PRELIMINARY APPROVAL OF PROPOSED CLASS SETTLEMENT,
  CERTIFICATION OF CLASS AND APPOINTMENT OF CLASS COUNSEL FOR
  SETTLEMENT PURPOSES, APPROVAL OF PROPOSED CLASS NOTICE AND
      ADMINISTRATION PROCESS, AND APPOINTMENT OF CLAIMS
                         ADMINISTRATOR
            Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 2 of 28




                                                   TABLE OF CONTENTS

INTRODUCTION .......................................................................................................................... 1
FACTUAL AND PROCEDURAL BACKGROUND.................................................................... 2
          I.         The Sow Action ...................................................................................................... 2
          II.        Investigation, Discovery, and Settlement Negotiations .......................................... 2
SUMMARY OF PRINCIPLE SETTLEMENT TERMS ............................................................... 3
          I.         Proposed Settlement Class Definition .................................................................... 3
          II.        Proposed Payments to Class Members ................................................................... 7
          III.       Proposed Process for Providing Notice to Class Members .................................... 8
          IV.        Attorneys’ Fees and Costs ...................................................................................... 8
THE COURT SHOULD PRELIMARILY APPROVE THE PROPOSED SETTLEMENT ......... 9
          I.         Continued Litigation Would Be Complex, Expensive, and Lengthy (Factor 1) ... 10
          II.        The Reaction of the Class to the Settlement (Factor 2) ......................................... 11
          III.       Discovery Has Advanced Far Enough to Allow the Parties to Resolve the Case
                     Responsibly (Factor 3) .......................................................................................... 11
          IV.        Plaintiffs Would Face Real Risks if the Case Proceeded (Factors 4 and 5) .......... 12
          V.         Maintaining the Class Through Trial Would Not Be Simple (Factor 6) ............... 13
          VI.        Defendants Could Conceivably Withstand a Greater Judgment, But This Fact
                     Alone Does Not Weigh Against Approval (Factor 7) ........................................... 14
          VII.       The Settlement Is Substantial, Even in Light of the Best Possible Recovery and
                     the Attendant Risks of Litigation (Factors 8 and 9) .............................................. 14
THE COURT SHOULD CONDITIONALLY CERTIFY THE PROPOSED CLASS
PURSUANT TO RULE 23(E)...................................................................................................... 15
          I.         The Proposed Class Satisfies the Rule 23(a) Factors............................................ 15
                     A.         Numerosity ................................................................................................ 16
                     B.         Commonality............................................................................................. 16
                     C.         Typicality .................................................................................................. 17
                     D.         Adequacy of the Class Representatives .................................................... 17
          II.        The Proposed Class Satisfies the Rule 23(b)(3) Factors ....................................... 18
PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED AS CLASS COUNSEL ...................... 19
THE PROPOSED PROCESS FOR NOTIFYING THE CLASS, RECEIVING CLAIM FORMS,
AND DISTRIBUTING PAYMENTS TO ELIGIBLE CLASS MEMBERS IS FAIR AND
REASONABLE ............................................................................................................................ 21
THE PROPOSED CLAIMS ADMINISTRATOR IS ADEQUATE ............................................ 23
CONCLUSION ............................................................................................................................. 23



                                                                      i
             Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 3 of 28




                                                    TABLE OF AUTHORITIES

CASES
Alford v. City of New York, No. 06-CV-2512 (S.D.N.Y.) ............................................................ 21
Black Lives Matter Los Angeles v. City of Los Angeles, No. 20-CV-5027 (C.D. Cal. Oct. 3, 2022)
  ................................................................................................................................................... 17
Brown v. Kelly, 244 F.R.D. 222 (S.D.N.Y. 2007) ........................................................................ 16
City of Detroit v. Grinnell Corp., 495 F.2d 448 (2d Cir. 1974) .................................................... 10
Clark v. Ecolab Inc., Nos. 07-CV-8623, 04-CV-4488, 06-CV-5672, 2009 WL 6615729
  (S.D.N.Y. Nov. 27, 2009)............................................................................................................ 9
Cordero v. World Food Prize, No. 17-CV-347 (S.D. Iowa) ........................................................ 21
Cordes & Co. Fin. Serv., Inc. v. A.G. Edwards & Sons, Inc., 502 F.3d 91 (2d Cir. 2007) .......... 18
County of Suffolk v. Long Island Lighting Co., 710 F. Supp. 1422 (E.D.N.Y. 1989) .................. 15
Daniels v City of New York, 198 F.R.D. 409 (S.D.N.Y. 2001)..................................................... 20
Edrei v. Bratton, No.16-CV-1652 (S.D.N.Y.) .............................................................................. 20
Edrei v. Maguire, 892 F.3d 525 (2d Cir. 2018) ............................................................................ 20
El Sayed v City of New York, No. 18-CV-10566 (S.D.N.Y.)........................................................ 20
Felix v. Northstar Location Servs., LLC, 290 F.R.D. 397 (W.D.N.Y. 2013) ................................. 9
Floyd v City of New York, No. 08-CV-1034 (S.D.N.Y.) .............................................................. 20
Frank v. Eastman Kodak Co., 228 F.R.D. 184 (W.D.N.Y. 2005) ................................................ 14
Gerskovich v. Iocco, City of New York, No. 15-CV-7280 (S.D.N.Y.).......................................... 21
In re Austrian & German Bank Holocaust Litig., 80 F. Supp. 2d 164 (S.D.N.Y. 2000).. 10, 12, 14
In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29 (2d Cir.2009) ................................... 17
In re Michael Milken & Assocs. Sec. Litig., 150 F.R.D. 57 (S.D.N.Y. 1993) .............................. 22
In re NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493 (S.D.N.Y. 1996) ...................... 19
In re PaineWebber Ltd. P’ships Litig., 171 F.R.D. 104 (S.D.N.Y. 1997) .................................... 13
In re Traffic Exec. Ass’n-E. R.Rs., 627 F.2d 631 (2d Cir. 1980) .................................................... 9
In re Warfarin Sodium Antitrust Litig., 391 F.3d 516 (3d Cir. 2004) ........................................... 12
In re WorldCom, Inc. Sec. Litig., 219 F.R.D. 267 (S.D.N.Y. 2003) ............................................. 16
Joel A. v. Giuliani, 218 F.3d 132 (2d Cir. 2000) .......................................................................... 15
Jones v. United States Postal Service, No. 20-CV-6516 (S.D.N.Y.)............................................ 20
Lizondro-Garcia v. Kefi LLC, 300 F.R.D. 169 (S.D.N.Y. 2014).................................................... 9
Lomax v. O’Ree, No. 24-C-16-2313 (Circuit Court, Baltimore City) .......................................... 21
MacNamara v. City of New York, 275 F.R.D. 125 (S.D.N.Y. 2011) ..................................... passim


                                                                           ii
             Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 4 of 28




Maguire v. Edrei, 139 S. Ct. 2614 (2019) .................................................................................... 20
Marisol A. v. Giuliani, 126 F.3d 372 (2d Cir. 1997) .................................................................... 15
Martens v. Smith Barney, Inc., 181 F.R.D. 243 (S.D.N.Y. 1998) ................................................ 12
Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072 (2d Cir. 1995) .................................. 9
McBean v. City of New York, 233 F.R.D. 377 (S.D.N.Y. 2006) ................................................... 14
McLennon v City of New York, No. 14-CV-6320 (E.D.N.Y. 2014) ............................................. 20
Newman v. Stein, 464 F.2d 689 (2d Cir. 1972) ............................................................................. 14
Nigro v. City of New York, No. 19-CV-2369 (S.D.N.Y.) ............................................................. 21
Packard v. City of New York, No. 15-CV-7130 (S.D.N.Y.) ......................................................... 21
Peat v. City of New York, No. 12-CV-8230 (S.D.N.Y.) ............................................................... 21
Reade-Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26 (E.D.N.Y. 2006) .................. 15
Robidoux v. Celani, 987 F.2d 931 (2d Cir. 1993) ......................................................................... 17
Samira Sierra, et al. v. City of New York, et al., Nos. 20-CV-10291, 20-CV-10541 (CM) (GWG)
  ..................................................................................................................................................... 8
Stinson, et al. v. City of New York, No. 10-CV-4228 (S.D.N.Y) (RWS)...................................... 23
Syed v City of New York, No. 16-CV-04789 (S.D.N.Y. 2016) ..................................................... 20
Velez v. Majik Cleaning Serv., Inc., No. 03-CV-8698, 2007 WL 7232783 (S.D.N.Y. June 25,
  2007).......................................................................................................................................... 13
Wal-Mart Stores, Inc. v. Visa U.S.A. Inc., 396 F.3d 96 (2d Cir. 2005) .................................... 9, 16
Yang v. Kosinski, 960 F.3d 119 (2d Cir. 2020) ............................................................................. 20
Yang v. N.Y. State Bd. Of Elections, No. 20-CV-3325 (S.D.N.Y.)............................................... 20
STATUTES
Fed. R. Civ. P. 23(a)................................................................................................................ 15, 16
Fed. R. Civ. P. 23(b)(2) ................................................................................................................. 16
Fed. R. Civ. P. 23(b)(3)................................................................................................................. 18
Fed. R. Civ. P. 23(g)(1)(A) ........................................................................................................... 19
Fed. R. Civ. P. 23(g)(1)(B) ........................................................................................................... 19
TREATISES
Herbert B. Newberg & Alba Conte, Newberg on Class Actions .................................................. 15




                                                                           iii
           Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 5 of 28




                                       INTRODUCTION

       After years of hard-fought litigation, the Named Plaintiffs,1 individually and on behalf of

the class they seek to represent (collectively “Plaintiffs”), and the City of New York and the

individual NYPD Defendants (collectively “Defendants”) have reached a settlement agreement in

this putative class action that will compensate approximately 1,380 people who were arrested,

and/or subjected to force by NYPD officers during the “George Floyd protests” at several locations

throughout the City. The Settlement Agreement reached by the parties (“Agr.”) is attached as

Exhibit 1 to the Declaration of Jonathan C. Moore (“Moore Decl.”).

       Specifically, Defendants will pay each eligible class member $9,950.00 (Nine Thousand

Nine Hundred and Fifty Dollars) with a maximum distribution to class members from a class fund

of $13,731,000.00 (Thirteen Million Seven Hundred and Thirty-One Thousand Dollars). An

additional service award will be paid to the Named Plaintiffs in this action who were arrested

and/or force was used against at several “George Floyd protests” in 2020, and a settlement will be

paid to those Named Plaintiffs arrested at Mott Haven on June 4, 2020. These amounts are

exclusive of attorney’s fees and costs which the parties have agreed to negotiate and, hopefully

resolve, separately without the need for court intervention.

       Because this proposed settlement satisfies all of the criteria for preliminary approval,

Plaintiffs respectfully request that the Court: (1) preliminarily approve the proposed settlement

terms as reflected in the parties’ Stipulation of Settlement and Order (referred to herein as

“Settlement Agreement" or “Agreement”); (2) conditionally certify the proposed class for

settlement purposes pursuant to Fed. R. Civ. P. 23(c) and 23(e); (3) appoint Beldock Levine &



       1 The Named Plaintiffs are Adama Sow, David Jaklevic, Alexandra De Mucha Pino, Oscar
 Rios, Barbara Ross, Matthew Bredder, Sabrina Zurkuhlen, Maria Salazar, Dara Pluchino, and Savitri
 Durkee.
                                                1
         Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 6 of 28




Hoffman, LLP, Cohen & Green, PLLC, Wylie Stecklow, PLLC, Masai Lord, and Gideon Orion

Oliver, Esq. (collectively, “Plaintiffs’ Counsel”) as Class Counsel; (4) approve the proposed class

settlement notice procedure as reflected in the Agreement; and (5) appoint Rust Consulting, Inc.

as Class Administrator.

                     FACTUAL AND PROCEDURAL BACKGROUND

I.     THE SOW ACTION

       In the Sow action, Plaintiffs allege that the City of New York systematically attacked,

trapped, and arrested people who were joining in protests condemning police violence in

response to the gruesome murder of George Floyd. Plaintiffs allege that starting on May 28,

2020, and continuing through at least November 2020, Defendants assaulted protesters,

bystanders, and observers with fist strikes, baton strikes to the head and body, tackles to the

ground, and subjected them to excessively tight handcuffs (both metal and plastic flex-cuffs) and

pepper spray.

       Plaintiffs also allege that as a frequent prelude to these assaults, NYPD officers corralled

Black Lives Matter (“BLM”) protesters into spaces from which they could not escape—a practice

known as “kettling”—engaging in making mass arrests, all without lawful justification or fair

warning and subjected arrestees to lengthy and unnecessary arrest processing, and detained them

in cruel and inhumane conditions. Videos produced during discovery show these practices as

widespread and pervasive.

II.    INVESTIGATION, DISCOVERY, AND SETTLEMENT NEGOTIATIONS

       The Sow Complaint was filed on January 21, 2021. For purposes of discovery, the Court

eventually consolidated Sow with nine other related cases (the “Consolidated Cases”). Consistent

with the Court’s consolidation order, the plaintiffs in the Consolidated Cases coordinated and

collaborated in taking discovery. Moore Decl. ¶¶ 3–6, 8, 10.

                                                2
         Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 7 of 28




       Given the breadth of the consolidated actions and the number of parties, discovery in the

Consolidated Cases has been complex, lengthy, and hard-fought. To date, Defendants have

produced hundreds of thousands of documents, and thousands of hours of videos and audio

recordings which plaintiffs have categorized and logged. Id. ¶ 4. On March 6, 2021, the Sow

Plaintiffs filed an Amended Complaint. ECF Dkt. No. 49. The Sow Plaintiffs were partially

successful in defending a motion to dismiss that pleading. ECF Dkt. No. 116.

       The Sow Named Plaintiffs responded to Defendants’ discovery requests and were all

deposed in 2021, and Sow Plaintiffs’ Counsel participated in numerous depositions of NYPD

officers and defendants. Moore Decl. ¶ 5. Plaintiffs’ Counsel participated in discovery motion

practice including filing numerous motions to compel discovery that were granted, and also

responded to motions from Defendants and counsel for Intervenor Unions the PBA, DEA and

SBA. The Sow counsel were actively preparing for depositions of high-level NYPD officials

until the parties reached an agreement. Id. ¶ 8. The Court also scheduled motion practice on

class certification which was being prepared by Sow Counsel until the parties reached a settlement

agreement. Id. ¶ 9. The Sow counsel had digested hundreds of hours of video and many

thousands of pages of documents produced by the City of New York during discovery. Id. ¶ 10.

       The Sow Plaintiffs engaged in numerous settlement discussions over a number of months.

These negotiations were hard fought and the proposed settlement amount for each class member

reflects significant compromise on the part of both Plaintiffs and Defendants.

                    SUMMARY OF PRINCIPLE SETTLEMENT TERMS

       The Agreement provides significant compensation to approximately 1,380 protestors

subjected to arrest and/or police force.

I.     PROPOSED SETTLEMENT CLASS DEFINITION

       The proposed Settlement Class is defined as all persons who were arrested, and/or

                                                3
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 8 of 28




subjected to force by NYPD officers during the “George Floyd protest” on the following 18 dates

and locations:

   Protest Date     Protest Location         Location Boundaries

   May 28, 2020     Lafayette to City Hall   Arrests made at the protest within the area of Manhattan
                                             in the surrounding vicinity bordered by Spring Street,
                                             Centre Street, Park Row, Nassau Street, Broad Street,
                                             Beaver Street, Broadway, Battery Place, and West
                                             Street.

   May 28, 2020     Union Square             Arrests made at the protest within the area of Manhattan
                                             in the surrounding vicinity bordered by West and East
                                             20th Street, Second Avenue, East and West 11th Street,
                                             and Seventh Avenue.

   May 29, 2020     Barclays Center area     Arrests made at the protest within the area of Brooklyn
                                             in the surrounding vicinity bordered by Myrtle Avenue,
                                             Classon Avenue, Fulton Street, Washington Avenue,
                                             Prospect Place, Vanderbilt Avenue, Sterling Place,
                                             Seventh Avenue, Union Street, Nevins Street, Atlantic
                                             Avenue, Bond Street and Butler Street and within the
                                             area of Manhattan in the surrounding vicinity bordered
                                             by Canal Street, Mulberry Street, Park Row, and
                                             Broadway.

   May 30, 2020     East Flatbush/           Arrests made at the protest within the area of
                    Barclays Center area     Brooklyn in the surrounding vicinity bordered by
                                             Myrtle Avenue, Washington Avenue, Prospect Place,
                                             Vanderbilt Avenue, Sterling Place, Seventh Avenue,
                                             Union Street, Nevins Street, Atlantic Avenue, Baltic
                                             Street and Bond Street and Third Avenue; Winthrop
                                             Street, East 34th Street, Beverly Road, Ocean Avenue,
                                             Parkside Avenue and Flatbush Avenue; Fulton Street,
                                             Cadman Plaza West, Sands Street, and Flatbush
                                             Avenue Extension.
   May 30, 2020     Harlem/ West Side        Arrests made at the protest within the area of Manhattan
                    Highway                  in the surrounding vicinity bordered by West 110th
                                             Street, the West Side Highway, West End Avenue, 11th
                                             Avenue, and West 42nd Street.

   May 30, 2020     Union Square to FDR      Arrests made at the protest within the area of Manhattan
                    Drive                    in the surrounding vicinity bordered by East and West
                                             17th Street, First Avenue, East 4th Street and
                                             Greenwich Street and Eighth Avenue; and the FDR


                                               4
     Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 9 of 28




                                       Drive and contiguous streets between Pike Slip and
                                       East 116th Street.

May 30, 2020   City Hall to over the   Arrests made at the protest within the area of Brooklyn
               Brooklyn Bridge         in the surrounding vicinity bordered by Sands Street,
                                       Flatbush Avenue Extension, Fulton Street, and Cadman
                                       Plaza West; the Brooklyn Bridge and York Street; and
                                       within the area of Manhattan in the surrounding vicinity
                                       bordered by Park Row, Broadway, Reade Street, Centre
                                       Street, Pearl Street and Ann Street.

May 31, 2020   Union Square            Arrests made at the protest within the area of Manhattan
                                       in the surrounding vicinity bordered by West and East
                                       18th Street, Third Avenue, East and West Eighth Street,
                                       Greenwich Avenue, and Seventh Avenue.

June 1, 2020   Barclays Center area    Arrests made at the protest within the area of Brooklyn
                                       in the surrounding vicinity bordered by Myrtle Avenue,
                                       Washington Avenue, Park Place, Vanderbilt Avenue,
                                       Sterling Place, Seventh Avenue, Union Street, Third
                                       Avenue, Atlantic Avenue, Bond Street, Fulton Street,
                                       Cadman Plaza West, Sands Street, and Gold Street; the
                                       Brooklyn Bridge; and within the area of Manhattan in
                                       the surrounding vicinity bordered by Park Row,
                                       Barclay Street, Hudson Street, Eighth Avenue, West
                                       23rd Street, Tenth Avenue, West 35th Street, Ninth
                                       Avenue, West 59th Street, Sixth Avenue, Canal Street,
                                       and Mulberry Street.

June 1, 2020   Midtown Manhattan       Arrests made at the protest within the area of Manhattan
                                       in the surrounding vicinity bordered by East 66th Street,
                                       Second Avenue, East and West 23rd Street, Sixth
                                       Avenue, Central Park South, and Fifth Avenue.

June 2, 2020   Foley Square to         Arrests made at the protest within the area of Manhattan
               Central Park            in the surrounding vicinity bordered by Bleecker Street,
                                       East 2nd Street, First Avenue, Allen Street, East
                                       Broadway, Park Row, Pearl Street, Lafayette Street,
                                       White Street, and Sixth Avenue; and Central Park
                                       North, Fifth Avenue, East 97th Street, Park Avenue,
                                       East 67th Street, Third Avenue, East 23rd Street, East
                                       26th Street, Madison Avenue, East and West 35th
                                       Street, Ninth Avenue, West 59th Street, and Central
                                       Park West.

June 2, 2020   Union Square and        Arrests made at the protest within the area of Manhattan
                                       in the surrounding vicinity bordered by West and East

                                         5
    Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 10 of 28




               Astor Place        23rd Street, Second Avenue, East 3rd Street, Mercer
                                  Street, West 8th Street, University Place, East and West
                                  11th Street, and Sixth Avenue.

June 2, 2020   Near and on West   Arrests made at the protest within the area of Manhattan
               Side Highway       in the surrounding vicinity bordered by Chambers
                                  Street, Greenwich Street, Battery Place and West
                                  Street.

June 2, 2020   Chelsea            Arrests made at the protest within the area of Manhattan
                                  in the surrounding vicinity bordered by West 34th
                                  Street, Fifth Avenue, West 23rd Street, Seventh Avenue,
                                  West 14th Street, and Tenth Avenue.

June 3, 2020   Cadman Plaza       Arrests made at the protest within the area of Manhattan
                                  in the surrounding vicinity bordered by Prospect Street
                                  / Cadman Plaza North, Cadman Plaza East, Red Cross
                                  Place, Brooklyn Bridge Boulevard, Tillary Street, Jay
                                  Street, Willoughby Street, Lawrence Street, Gallatin
                                  Place, Livingston Street, Clinton Street, Pierrepont
                                  Street, and Henry Street.

June 3, 2020   Upper East Side    Arrests made at the protest within the area of Manhattan
                                  in the surrounding vicinity bordered by East 80th Street,
                                  First Avenue, East 49th Street, Sixth Avenue, West 58th
                                  Street, Seventh Avenue, Central Park South, and Fifth
                                  Avenue.

June 4, 2020   McCarren Park      Arrests made at the protest within the area of Brooklyn
                                  in the surrounding vicinity bordered by Nassau
                                  Avenue, Lorimer Street, Driggs Ave, Manhattan Ave,
                                  Leonard Street, Richardson Street, Lorimer Street,
                                  Withers Street, Havemeyer Street, Metropolitan
                                  Avenue, Marcy Avenue, Broadway, Middleton Street,
                                  Wallabout Street, Kent Avenue, Williamsburg Street
                                  East, Bedford Avenue, Broadway, Kent Avenue, River
                                  Street, Grand Street, and Berry Street.

June 4, 2020   Clinton Hill       Arrests made at the protest within the area of Brooklyn
                                  in the surrounding vicinity bordered by Flushing
                                  Avenue, Classon Avenue, Atlantic Avenue, 4th Ave,
                                  Pacific Street, Nevins Street, Flatbush Ave, Fort
                                  Greene Place, Dekalb Avenue, Washington Park,
                                  Myrtle Avenue, and Carlton Avenue.




                                    6
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 11 of 28




       Excluded from the Class are individuals who have settled claims with New York City

Comptroller’s Office arising out of the events at the 18 protest dates and locations in the chart

above. Also excluded are individuals who brought lawsuits against the City and/or individual

members of NYPD arising out of the events at the 18 protest locations and whose claims were

settled, dismissed, or otherwise disposed of. Further, excluded from this settlement are all persons

charged with trespassing (New York State Penal Law (“NYS P.L.”) § 140), destruction of public

property (NYS P.L. § 145), assaulting an officer (NYS P.L. § 120.08), criminal possession of a

weapon (NYS P.L. § 265), arson (NYS P.L. § 150), or burglary (NYS P.L. § 140) where the person

was arrested at the location of the alleged burglary. Additionally, a potential class member will

be excluded if there is video or other objective evidence of them clearly demonstrating that the

claimant, through physical conduct, intentionally obstructed, impaired, or prevented a Member of

Service’s ability to lawfully arrest, or attempt to lawfully arrest another individual. Agr. ¶ 33.

II.    PROPOSED PAYMENTS TO CLASS MEMBERS

       Under the Agreement, all eligible class members who submit timely Claim Forms will each

receive $9,950.00. Agr. ¶ 40. For their efforts in bringing and maintaining this action, including

engaging in discovery and being deposed, and subject to Court approval, the City agrees to pay

awards for the services provided to the class by Class Representatives David Jaklevic, Alexandra

de Mucha Pino, Oscar Rios, Sabrina Zurkuhlen, Maria Salazar, and Matthew Bredder, in the

amount of nine thousand nine hundred and fifty dollars ($9.950.00). In light of the unique facts

and circumstances of her claims, the City agrees to pay to Barbara Ross a service award in the sum

of twenty thousand and fifty dollars ($20,050.00). These service payment awards shall be in

addition to any amounts otherwise due to them with respect to their individual claim as Class

Members.

       Subject to the Court’s approval, the City agrees to pay Plaintiffs Adama Sow, Dara

                                                  7
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 12 of 28




Pluchino, and Savitri Durkee the sum of twenty-one thousand and five hundred dollars

($21,500.00), in full satisfaction and settlement of all claims in this Civil Action. In consideration

for the settlement herein, Plaintiffs will not submit a claim form or in any way participate in the

class action settlement under Samira Sierra, et al. v. City of New York, et al., Nos. 20-CV-10291,

20-CV-10541 (CM) (GWG).

III.    PROPOSED PROCESS FOR PROVIDING NOTICE TO CLASS MEMBERS

        The parties have agreed to provide notice to the Class in three forms. First, a “Claims

Package” will be mailed to every known Class Member. Agr. ¶ 36. The Claims Package consists

of a long form Class Notice and a Claim Form. Id. ¶¶ 7, 9. As noted below, the Claims

Administrator will translate the Claims Package into Spanish (which the parties will review for

accuracy), and both the English and Spanish versions of the Claims Package will be transmitted

together to each class member. Id. ¶ 50. Second, a Class Notice Summary will be published in

the Daily News, the Amsterdam News, and El Diario. Id. ¶ 37. Third, a website will be established

where Class Members can review the terms of the proposed Settlement, and submit a Claim Form.

Id. ¶ 38.

IV.     ATTORNEYS’ FEES AND COSTS

        The City will pay Plaintiffs’ reasonable attorneys’ fees and costs. Agr. ¶ 83. The parties

agree that they will attempt to settle the amount of fees and costs incurred up to and including the

date of the Agreement and for those fees and costs that are reasonably likely to be incurred through

the date of the Final Approval hearing; Plaintiffs will move this Court for approval of their

attorneys’ fees and costs, pursuant to Federal Rule of Civil Procedure 23(h) and 54(d)(1) and (2),

simultaneously with their Motion for Final Approval of the Settlement. Plaintiffs intend to seek

approximately $8,284,543.17 for reasonable attorneys’ fees and costs incurred through June 15,

2023, plus all additional reasonable fees and costs incurred from that date through the completion

                                                 8
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 13 of 28




of this settlement.

 THE COURT SHOULD PRELIMARILY APPROVE THE PROPOSED SETTLEMENT

        Preliminary approval of this settlement is appropriate, especially given the “strong judicial

policy in favor of settlements, particularly in the class action context.” Wal-Mart Stores, Inc. v.

Visa U.S.A. Inc., 396 F.3d 96, 116 (2d Cir. 2005). Approval of a class action settlement is a matter

of discretion, see Maywalt v. Parker & Parsley Petroleum Co., 67 F.3d 1072, 1078 (2d Cir. 1995),

with “proper deference” given “to the private consensual decision of the parties,” Clark v. Ecolab

Inc., Nos. 07-CV-8623, 04-CV-4488, 06-CV-5672, 2009 WL 6615729, at *3 (S.D.N.Y. Nov. 27,

2009) (internal quotation marks and citations omitted). Courts considering a proposed class action

settlement “should keep in mind the unique ability of class and defense counsel to assess the

potential risks and rewards of litigation.” Id.

        Preliminary approval of a proposed class settlement “requires only an initial evaluation of

the fairness of the proposed settlement on the basis of written submissions and an informal

presentation by the settling parties.” Lizondro-Garcia v. Kefi LLC, 300 F.R.D. 169, 179 (S.D.N.Y.

2014). Granting preliminary approval is “at most a determination that there is what might be

termed ‘probable cause’ to submit the proposal to class members and hold a full-scale hearing as

to its fairness.” In re Traffic Exec. Ass’n-E. R.Rs., 627 F.2d 631, 634 (2d Cir. 1980). “A proposed

settlement of a class action should therefore be preliminarily approved where it appears to be the

product of serious, informed, non-collusive negotiations, has no obvious deficiencies, does not

improperly grant preferential treatment to class representatives or segments of the class and falls

within the range of possible approval.” Felix v. Northstar Location Servs., LLC, 290 F.R.D. 397,

407 (W.D.N.Y. 2013) (internal quotation marks omitted).

        The proposed settlement here is fair, reasonable, and adequate and should be preliminarily



                                                  9
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 14 of 28




approved. In evaluating the fairness of a proposed class action settlement, courts in the Second

Circuit generally consider the nine factors set forth in City of Detroit v. Grinnell Corp., 495 F.2d

448, 463 (2d Cir. 1974), abrogated on other grounds by Goldberger v. Integrated Res., Inc., 209

F.3d 43 (2d Cir. 2000). The Grinnell factors are:

       (1)     the complexity, expense, and likely duration of the litigation;

       (2)     the reaction of the class to the settlement;

       (3)     the stage of the proceedings and the amount of discovery completed;

       (4)     the risks of establishing liability;

       (5)     the risks of establishing damages;

       (6)     the risks of maintaining the class action through the trial;

       (7)     the ability of the defendants to withstand a greater judgment;

       (8)     the range of reasonableness of the settlement fund in light of the best possible
               recovery; and

       (9)     the range of reasonableness of the settlement fund to a possible recovery in light of
               all the attendant risks of litigation.

Grinnell, 495 F.2d at 463. These factors all weigh in favor of the granting preliminary approval

to the Agreement.

I.     CONTINUED LITIGATION WOULD BE COMPLEX, EXPENSIVE, AND
       LENGTHY (FACTOR 1)

       By reaching a favorable settlement prior to the completion of discovery, dispositive

motions and/or trial, Plaintiffs seek to avoid additional significant expense and delay and ensure

recovery for the class. “Most class actions are inherently complex and settlement avoids the costs,

delays and multitude of other problems associated with them.” In re Austrian & German Bank

Holocaust Litig., 80 F. Supp. 2d 164, 174 (S.D.N.Y. 2000), aff’d sub nom. D’Amato v. Deutsche

Bank, 236 F.3d 78 (2d Cir. 2001).

       There is no question that litigating this case through trial would be complicated and time-

                                                      10
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 15 of 28




consuming. Completing discovery for this case would require the Sow Plaintiffs to take additional

depositions of high-level NYPD officials, and engage in expert discovery. Preparing for and

taking those depositions would require hundreds of hours of attorney time. There is also additional

paper discovery that would need to be completed if this case is not resolved by settlement.

       Absent settlement, Plaintiffs would also need to litigate the issue of class certification and,

most likely, prepare for and defend against summary judgment motions on a significant number

of claims or elements of claims. Thus, by settling now, the Parties avoid protracted motion practice

and save the Court the task of reviewing and deciding these sequential motions. Moreover, given

that it is highly unlikely that this case could be fully resolved through summary judgment, a full

jury trial would be necessary—which would be another burden on the Court and the Parties that

settlement avoids.

       Settlement avoids the time and costs of numerous additional depositions, further paper

discovery, disputed motions for class certification and summary judgment, and trial. Significantly,

it also avoids years of delay in obtaining compensation for class members. Thus, the first Grinnell

factor weighs strongly in favor of approval.

II.    THE REACTION OF THE CLASS TO THE SETTLEMENT (FACTOR 2)

       Because notice of the settlement has not yet been issued to the class, the Court can and

should more fully consider this factor after notice is sent and class members are given the

opportunity to respond to it. Still, at this stage, the ten Named Plaintiffs have all expressed their

approval of the settlement and, given the size of the awards, there is likely to be a positive reaction

from the class. This factor, too, weighs in favor of approval.

III.   DISCOVERY HAS ADVANCED FAR ENOUGH TO ALLOW THE PARTIES TO
       RESOLVE THE CASE RESPONSIBLY (FACTOR 3)

       The parties have completed enough discovery to recommend settlement. “Because much


                                                  11
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 16 of 28




of the point of settling is to avoid litigation expenses such as full discovery, it would be inconsistent

with the salutary purposes of settlement to find that extensive pre-trial discovery is a prerequisite

to approval of a settlement.” Martens v. Smith Barney, Inc., 181 F.R.D. 243, 263 (S.D.N.Y. 1998)

(internal quotation marks and citations omitted). The proper question is “whether counsel had an

adequate appreciation of the merits of the case before negotiating.” In re Warfarin Sodium

Antitrust Litig., 391 F.3d 516, 537 (3d Cir. 2004) (internal quotation marks omitted). “[T]he

pretrial negotiations and discovery must be sufficiently adversarial that they are not designed to

justify a settlement . . . [, but] an aggressive effort to ferret out facts helpful to the prosecution of

the suit.” In re Austrian, 80 F. Supp. 2d at 176 (internal quotation marks and citation omitted).

        Discovery to date easily meets this standard. This Court is fully aware of how hard-fought

discovery has been to date, with dozens of discovery disputes coming before the Court for

resolution. Plaintiffs’ Counsel have reviewed and analyzed many thousands of documents,

reviewed hundreds of hours of video and audio recordings (including CCRB and NYC Department

of Investigation interviews of many officers), defended the Named Plaintiffs’ depositions, and

taken or sat in on numerous depositions of NYPD personnel. Plaintiffs also obtained subpoenaed

records from the Bronx District Attorney’s Office.

        After reviewing some of this discovery, Plaintiffs’ counsel in Sow prepared an amended

complaint that identified additional appropriate defendants and modified claims against defendants

initially named.

        This case has been litigated at an expedited pace for more than two years—more than

enough time for the parties to responsibly resolve the case. This factor weighs in favor of approval.

IV.     PLAINTIFFS WOULD FACE REAL RISKS IF THE CASE PROCEEDED
        (FACTORS 4 AND 5)

        Plaintiffs believe their case is strong. But considerable risks remain if the case does not


                                                   12
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 17 of 28




settle. “Litigation inherently involves risks.” In re PaineWebber Ltd. P’ships Litig., 171 F.R.D.

104, 126 (S.D.N.Y. 1997). “The proposed settlement benefits each plaintiff in that he or she will

recover a monetary award immediately, without having to risk that an outcome unfavorable to the

plaintiffs will emerge from a trial.” Velez v. Majik Cleaning Serv., Inc., No. 03-CV-8698, 2007

WL 7232783, at *6 (S.D.N.Y. June 25, 2007).

       A trial on the merits would involve significant risks for Plaintiffs as to both liability and

damages. To prevail on some of their constitutional claims, Plaintiffs would need to prove that

they were singled out for police mistreatment on the basis of their message (against police

brutality). They would also need to overcome Defendants’ insistence that probable cause—and,

with respect to the individual Defendants’ qualified immunity defense, arguable probable cause—

existed to arrest the protestors. Plaintiffs would also have to prove that the use of force against the

protestors was objectively unreasonable, not to mention the other Class Claims—like the violation

of protestors’ First Amendment Rights. Plaintiffs also would need to show that each of the named

Defendants was personally involved in the alleged constitutional deprivations and that the City

was liable as a municipality.

       Even if Plaintiffs succeeded at trial (and on appeal) in proving Defendants’ liability, they

would face additional difficulty in proving the full extent of damages. Given the generally

relatively modest times in detention, Plaintiffs would face a substantial risk a jury would award

less. These factors also weigh in favor of approval.

V.     MAINTAINING THE CLASS THROUGH TRIAL WOULD NOT BE SIMPLE
       (FACTOR 6)

       While Plaintiffs are confident that they would obtain certification of the class under Rule

23, the many other litigations surrounding the Summer 2020 protests mean that maintaining the

class through trial would be complicated, given other cases that could impinge upon the class.


                                                  13
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 18 of 28




Further, any trial would not occur for another year or more, further complicating efforts to maintain

the class (as members may move away or become harder to find). Risk, expense, and delay

permeate the class certification process. Settlement eliminates these risks, expenses, and delay.

This factor favors preliminary approval.

VI.    DEFENDANTS COULD CONCEIVABLY WITHSTAND A GREATER
       JUDGMENT, BUT THIS FACT ALONE DOES NOT WEIGH AGAINST
       APPROVAL (FACTOR 7)

       While the City of New York could presumably withstand a judgment greater than the total

class settlement awards, that fact “does not render the settlement unfair, especially where the other

Grinnell factors favor approval.” McBean v. City of New York, 233 F.R.D. 377, 388 (S.D.N.Y.

2006). Indeed, “fairness does not require that the City of New York empty its coffers before this

Court will approve a settlement.” Id.

VII.   THE SETTLEMENT IS SUBSTANTIAL, EVEN IN LIGHT OF THE BEST
       POSSIBLE RECOVERY AND THE ATTENDANT RISKS OF LITIGATION
       (FACTORS 8 AND 9)

       The City has agreed to pay a significant sum to each eligible class member: $9,950.00. This

represents a substantial per-plaintiff settlement amount for a case like this, involving mass arrests

and excessive force, among other things.

       The determination of whether a settlement amount is reasonable “does not involve the use

of a ‘mathematical equation yielding a particularized sum.’” Frank v. Eastman Kodak Co., 228

F.R.D. 184, 186 (W.D.N.Y. 2005) (quoting In re Austrian, 80 F. Supp. 2d at 178). “Instead, ‘there

is a range of reasonableness with respect to a settlement—a range which recognizes the

uncertainties of law and fact in any particular case and the concomitant risks and costs necessarily

inherent in taking any litigation to completion.’” Id. (quoting Newman v. Stein, 464 F.2d 689, 693

(2d Cir. 1972)). Because the settlement agreement is, on its face, “‘fair, adequate, and reasonable,

and not a product of collusion,’” Frank, 228 F.R.D. at 184 (quoting Joel A. v. Giuliani, 218 F.3d

                                                 14
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 19 of 28




132, 138–39 (2d Cir. 2000)), the Court should grant preliminary approval.

     THE COURT SHOULD CONDITIONALLY CERTIFY THE PROPOSED CLASS
                       PURSUANT TO RULE 23(E)

        Plaintiffs respectfully request that the Court certify the Proposed Class under Federal Rule

of Civil Procedure 23(e) for purposes of effectuating the settlement. As discussed below, the Class

meets all of the requirements for class certification, and Defendants do not oppose certification

under Rule 23(e). See Herbert B. Newberg & Alba Conte, Newberg on Class Actions, § 13:3 (“If

a class has not yet been certified, the parties stipulate to the conditional or temporary establishment

of settlement classes for the purposes of the agreement.”); County of Suffolk v. Long Island

Lighting Co., 710 F. Supp. 1422, 1424 (E.D.N.Y. 1989) (“negotiat[ing] a proposed settlement . . .

prior to certification of the class” is appropriate), aff’d in part, rev’d in part on other grounds, 907

F.2d 1295 (2d Cir. 1990).

        Under Rule 23(a), a class action may be maintained if all the prongs of Rule 23(a) are met,

as well as one of the prongs of Rule 23(b). In the Second Circuit, “Rule 23 is given liberal rather

than restrictive construction, and courts are to adopt a standard of flexibility” in evaluating class

certification. Reade-Alvarez v. Eltman, Eltman & Cooper, P.C., 237 F.R.D. 26, 31 (E.D.N.Y.

2006) (quoting Marisol A. v. Giuliani, 126 F.3d 372, 377 (2d Cir. 1997)).

I.      THE PROPOSED CLASS SATISFIES THE RULE 23(A) FACTORS

        The Proposed Class is, subject to the exclusion listed above, all persons who were arrested,

and/or subjected to force by NYPD officers during the “George Floyd protest” at the 18 dates and

locations listed in the Chart at pages 4–6 above.

        This motion satisfies the Rule 23(a) requirements. The class is sufficiently numerous;

questions of law and fact are common to the class; the class representatives’ claims are typical of

those of the class; and there is adequacy of representation. Fed. R. Civ. P. 23(a).


                                                  15
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 20 of 28




        Pursuant to the Agreement Plaintiffs will dismiss the remaining claims with prejudice,

including any claims for injunctive relief sought through Fed. R. Civ. P. 23(b)(2). Agr. ¶ 85–86.

However, Plaintiffs’ Counsel was substantively involved in the framework being used in further

settlement discussions that, if successful, will greatly benefit this class as well.

        A.      Numerosity

        The Proposed Class is “so numerous that joinder of all members is impracticable.” Fed.

R. Civ. P. 23(a). “[T]he numerosity analysis begins with the presumption that a class comprising

40 or more members is generally sufficient.” MacNamara v. City of New York, 275 F.R.D. 125,

141 (S.D.N.Y. 2011). Here, there are approximately 1,380 class members. Agr. ¶ 40. And while

some class members may have a separate lawsuit pending, “the presence of those actions does not

militate against class certification,” In re WorldCom, Inc. Sec. Litig., 219 F.R.D. 267, 305

(S.D.N.Y. 2003), because, for purposes of the Rule 23 analysis, “individuals are considered class

members until they opt out of the suit,” MacNamara, 275 F.R.D. at 141. Accordingly, the

Proposed Class is sufficiently numerous to satisfy Rule 23(a).

        B.      Commonality

        Fed. R. Civ. P. 23(a)(2) requires “questions of law and fact common to the class.” Even a

“single common question” will suffice. Wal-Mart, 564 U.S. at 359 (cleaned up). The rule “does

not require all questions of law or fact be common to the class,” and, indeed, such a requirement

“would be the death knell for class actions challenging the systemic enforcement of an [unlawful]

statute,” an “unacceptable result.” Brown v. Kelly, 244 F.R.D. 222, 230–31 (S.D.N.Y. 2007),

affirmed in part and vacated in part on other grounds, 609 F.3d 467 (2d Cir. 2010).

        There are numerous factual and legal issues common to the class. Most centrally, the case

is about the NYPD’s response to specific protests on specific dates in specific neighborhoods at

which all class members were present and experienced the same or similar conduct.              In

                                                    16
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 21 of 28




MacNamara, this court certified subclasses of arrestees from the Republican National Convention

protests under markedly similar circumstances. The court found that the commonality requirement

was met because the mass arrests of protestors presented common questions of fact and law,

including, whether officers arrested protestors without probable cause, whether officers issued

dispersal orders and provided an opportunity to disperse, and whether officers acted pursuant to

an unlawful policy or practice of indiscriminate mass arrest. MacNamara, 275 F.R.D. at 143; see

also Black Lives Matter Los Angeles v. City of Los Angeles, No. 20-CV-5027, Dkt. # 174 (C.D.

Cal. Oct. 3, 2022) (certifying class of protestors subjected to mass arrest during first week of Black

Lives Matter protests).

       C.      Typicality

       The Named Plaintiffs’ experiences and claims are typical of those in the class. Here, “each

class member’s claim arises from the same course of events”—their arrest, or experience of police

force at the Settlement Locations “and each class member makes similar legal arguments to prove

the defendant’s liability.” In re Flag Telecom Holdings, Ltd. Sec. Litig., 574 F.3d 29, 35 (2d

Cir.2009). “[T]he same unlawful conduct was directed at or affected both the named plaintiff[s]

and the class sought to be represented.” Robidoux v. Celani, 987 F.2d 931, 936–37 (2d Cir. 1993).

Specifically, each Named Plaintiff, and the class members, were subjected to a coordinated police

action. The Class Representatives claims arise from the same factual and legal circumstances that

form the bases of the Fed. R. Civ. P. 23 Class Members’ claims.

       D.      Adequacy of the Class Representatives

       The Named Plaintiffs have no interests that are “antagonistic to those of the []class

members,” and “there is no dispute that if the named Plaintiffs prevail, the putative class members

will also benefit, since all were subject to the same allegedly unconstitutional course of conduct.”

MacNamara, 275 F.R.D. at 144. Accordingly, the Named Plaintiffs—most of whom were present

                                                 17
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 22 of 28




at the 18 locations listed above, marched peacefully, were subjected to the use of force and

arrested, were placed in tight flexicuffs, and were given summonses or desk appearance tickets—

are adequate representatives of the proposed class.

II.    THE PROPOSED CLASS SATISFIES THE RULE 23(B)(3) FACTORS

       In addition to satisfying the Fed. R. Civ. P. 23(a) factors, the Proposed Class meets the

more stringent requirements necessary to certify a damages class under Rule 23(b)(3), which

requires that common questions of law or fact “predominate” over individual matters, and that a

class action is “superior to other available methods for fairly and efficiently adjudicating the

controversy.” Fed. R. Civ. P. 23(b)(3).

       First, Plaintiffs can demonstrate that “the issues in the class action that are subject to

generalized proof, and thus applicable to the class as a whole, predominate over those issues that

are subject only to individualized proof.” Cordes & Co. Fin. Serv., Inc. v. A.G. Edwards & Sons,

Inc., 502 F.3d 91, 107–08 (2d Cir. 2007).           Like the certified mass arrest subclasses in

MacNamara, common issues predominate over individual ones in this case, where hundreds of

people were arrested at a single location under a single plan orchestrated by Defendants. Because

the Proposed Class comprises “individuals who were arrested as part of a group based on the

alleged conduct of the group,” and not their individual actions, the Court can find predominance.

MacNamara, 275 F.R.D. at 146. Further, while “assessment of damages may ultimately require

individualized inquiries, that possibility is no bar to class certification here.” Id. “[F]actors

relevant to the superiority analysis include: the interest of class members in controlling separate

actions; the extent and nature of existing litigation concerning the controversy; the desirability or

undesirability of concentrating litigation of the class claims in the particular forum; and the likely

difficulties in managing a class action.” Id. at 148. A class action is certainly the most fair and

efficient way of resolving this case. Almost three years have passed since these protests, and the

                                                  18
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 23 of 28




vast majority of the putative class members have not filed separate actions. In addition, “the

likely difficulties in managing a class action” are not greater here – particularly where Plaintiffs

seek certification under Rule 23(e) as part of a proposed money-damages class settlement – than

the difficulties of continuing to litigate as one of the Consolidated Cases, which have presented

their own management difficulties.

        Indeed, whatever “‘management difficulties’ that might accompany the proposed

certification are certainly no greater than the management difficulties that would inevitably result

from hundreds of separate trials.” Id. “Given the number of class members injured” by the

NYPD’s alleged conduct, “a class action is not only the most efficient and convenient method to

resolve this controversy, it is the only ‘fair’ and ‘efficient’ means to adjudicate this controversy.”

In re NASDAQ Market-Makers Antitrust Litig., 169 F.R.D. 493, 527 (S.D.N.Y. 1996).

       PLAINTIFFS’ COUNSEL SHOULD BE APPOINTED AS CLASS COUNSEL

        Plaintiffs’ Counsel are appropriate Class Counsel under Rule 23(g), which sets forth the

four criteria for appointing class counsel: (1) “the work counsel has done in identifying or

investigating potential claims in the action”; (2) “counsel’s experience in handling class actions,

other complex litigation, and the types of claims asserted in the action”; (3) “counsel’s knowledge

of the applicable law”; and (4) “the resources that counsel will commit to representing the class.”

Fed. R. Civ. P. 23(g)(1)(A). The Court may also consider any other matter pertinent to counsel’s

ability to fairly and adequately represent the class. Fed. R. Civ. P. 23(g)(1)(B).

        Plaintiffs’ Counsel have successfully and efficiently worked together on this case for the

last two and a half years. Moore Decl. ¶ 14. Plaintiffs’ counsel are highly experienced in complex

class actions and have prosecuted numerous class actions. Id. ¶¶ 15–20. Beldock Levine &

Hoffman, LLP (“BLH”) attorneys have litigated a number of class action lawsuits against the City

of New York, including, but not limited to: El Sayed v City of New York, No. 18-CV-10566

                                                  19
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 24 of 28




(S.D.N.Y.) (injunctive claims, including a revised Patrol Guide policy, resolved on June 11, 2021);

Syed v City of New York, No. 16-CV-04789 (S.D.N.Y. 2016) (class certified on February 15, 2019);

McLennon v City of New York, No. 14-CV-6320 (E.D.N.Y. 2014) (injunctive claims resolved on

March 3, 2020); Floyd v City of New York, No. 08-CV-1034 (S.D.N.Y.) (currently in remedial

stage); Daniels v City of New York, 198 F.R.D. 409, 418 (S.D.N.Y. 2001) (“Aided by the capable

hands of Jonathan C. Moore . . . , class counsel is undoubtedly qualified and experienced to

conduct this litigation”); MacNamara, 275 F.R.D. at 154 (S.D.N.Y. 2011). Moore Decl. ¶ 16.

Attorneys at BLH have litigated hundreds of civil rights claims against the City of New York,

many of which pertained to the NYPD’s policies and practices and have a breadth of knowledge

of the NYPD issuing summons in an allegedly unlawful pattern that is demonstrative of racially

biased enforcement.

       Cohen and Green, PLLC, (“C&G”) attorneys have litigated a number of class actions and

police suits, including, but not limited to: Jones v. United States Postal Service, No. 20-CV-6516

(S.D.N.Y.) (nationwide voting rights class action); Edrei v. Bratton, No.16-CV-1652 (S.D.N.Y.),

aff’d sub. nom. Edrei v. Maguire, 892 F.3d 525 (2d Cir. 2018) (landmark, precedential decision in

challenge to the NYPD’s use of Long Range Acoustic Device (“LRAD”) against BLM protesters),

cert. denied Maguire v. Edrei, 139 S. Ct. 2614 (2019) (with Oliver); Gallagher v. N.Y. State. Bd.

Of Elections, No. 20-CV-5504 (S.D.N.Y.) (New York State voting rights class action); see also

Yang v. N.Y. State Bd. Of Elections, No. 20-CV-3325 (S.D.N.Y.), aff’d sub. Nom. Yang v. Kosinski,

960 F.3d 119 (2d Cir. 2020). Moore Decl. ¶ 18.

       Gideon Orion Oliver has over 18 years of experience litigating civil rights cases against

the NYPD, including hundreds of cases challenging the City’s policies, practices, and customs

related to protest policing. Sow FAC ¶ 460. Oliver has frequently co-counseled with BLH



                                                20
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 25 of 28




attorneys and C&G attorneys in litigation. Id. For example, in addition to litigating other 2004

RNC-related cases, Oliver was Of Counsel to BLH attorneys at the summary judgment briefing

stage of the MacNamara RNC 2004 class action litigation. Id. Oliver has always maintained a

portfolio including at least dozens of Plaintiffs’ protest-policing related cases. One such recent

case was Edrei (with C&G). Moore Decl. ¶ 19.

       Wylie M. Stecklow has extensive experience litigating civil rights both in New York and

elsewhere including Baltimore, Maryland: Lomax v. O’Ree, No. 24-C-16-2313 (Circuit Court,

Baltimore City) and Iowa: Cordero v. World Food Prize, No. 17-CV-347 (S.D. Iowa). Stecklow

has been litigating NYPD policies and practices for fifteen (15) years, including, but not limited

to: Alford v. City of New York, No. 06-CV-2512 (S.D.N.Y.); Peat v. City of New York, No. 12-CV-

8230 (S.D.N.Y.); Gerskovich v. Iocco, City of New York, No. 15-CV-7280 (S.D.N.Y.); Packard v.

City of New York, No. 15-CV-7130 (S.D.N.Y.); Nigro v. City of New York, No. 19-CV-2369

(S.D.N.Y.). He is the former national chair of the Federal Bar Association Civil Rights Section

(2016-2018); has organized and been a moderator and/or panelist on numerous civil rights CLE

panels including—since 2017—organizing the biennial Civil Rights Etouffee (1-2 day CLE) in

New Orleans; published a scholarly article on Qualified Immunity by the New York State Bar

Association (2020) and a chapter on QI in a text book on Constitutional Policing by American Bar

Association (2023); is an adjunct professor of law at Fordham University School of Law since

2018; and was the 2021 Sarah T. Hughes Civil Rights Award Honoree presented by the Federal

Bar Association. Moore Decl. ¶ 20.

  THE PROPOSED PROCESS FOR NOTIFYING THE CLASS, RECEIVING CLAIM
FORMS, AND DISTRIBUTING PAYMENTS TO ELIGIBLE CLASS MEMBERS IS FAIR
                         AND REASONABLE

       The Proposed Notices comply with due process and Fed. R. Civ. P. 23. The Class Notice

that will be mailed to class members in two languages, English and Spanish, and the Class Notice

                                               21
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 26 of 28




Summary that will be used in publishing notice also in those two languages, will contain all the

information required by Rule 23(c)(2)(B). They describe the terms of the settlement, inform the

class that Plaintiffs will seek to recover costs, attorneys’ fees, and service/settlement awards from

the City, and provide specific information regarding the date, time, and place of the final approval

hearing. Moreover, the proposed class administration process involves establishing a website,

where anyone can easily access the full settlement terms and the Class Notice, and class members

can submit a claim form.

       Courts have approved class notices even when they provided only general information

about a settlement. See In re Michael Milken & Assocs. Sec. Litig., 150 F.R.D. 57, 60 (S.D.N.Y.

1993) (class notice “need only describe the terms of the settlement generally”). The detailed

information in the proposed Notices—and the easily accessibility of a detailed website—far

exceeds this bare minimum and fully complies with the requirements of Rule 23 (c)(2)(B).

       The Parties have agreed to a clear and comprehensive plan to send out notice to all class

members, provide time for inquiries and claim submission, and pay out all timely legitimate

claims. Agr. ¶ 36–39. Specifically, no more than 45 days after the Preliminary Approval Order is

issued, the Claim Package will be mailed directly to all Class Members at their last known

addresses. Id. ¶ 57. Notice will also be published in Spanish and English language newspapers.

Id. ¶ 37. To receive a payment, class members must timely submit a Claim Form, either by mail

or online, by the deadline set by the Court. Id. ¶ 61. Those members wishing to opt out of or

object to the settlement will need to do so by the same deadline. Id. ¶ 71. With help from the

Parties, the Claims Administrator will be responsible for determining who is eligible for payment

and calculating class payments from an established Class Fund. Id. ¶ 51.

       The Parties propose that Plaintiffs submit their motion for final approval by 14 days before



                                                 22
        Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 27 of 28




the Fairness Hearing and that the Fairness Hearing take place on a date convenient to the Court

sometime after the administration of the claims. The Agreement proposes that the Claims

Administrator will begin paying class members after the Final Approval Order, unless there is an

appeal. Id. ¶ 47.

              THE PROPOSED CLAIMS ADMINISTRATOR IS ADEQUATE

       The parties have agreed to retain Rust Consulting, Inc. to serve as the Claims

Administrator. Id. ¶ 49. Rust has 30+ years of class action settlement administration experience

and has administered more than 5,200 class action settlements, judgments, and similar

administrative programs. Rust employs a permanent staff of more than 200. Rust has handled

claims administration in matters in this district and involving the City of New York, including, but

not limited to, Stinson, et al. v. City of New York, No. 10-CV-4228 (S.D.N.Y) (RWS), and the

Sierra-Wood class action pending before this Court.         Attached as Exhibit 2 to the Moore

Declaration is a declaration from then-Senior Vice President of Rust Tiffaney Janowicz, filed in

the Stinson case, explaining Rust’s experience and services. The costs of Class Administration

will be paid by the City of New York. Id. ¶ 45.

                                         CONCLUSION

       Because the Proposed Settlement is fair and reasonable and serves the interests of the

proposed Class, this Court should enter the proposed Stipulation of Settlement and Order and

preliminarily approve the class settlement, conditionally certify the class, appoint Plaintiffs’

Counsel as Class Counsel, approve the claims administration process, and approve the appointment

of Rust as Claims Administrator.




                                                  23
       Case 1:21-cv-00533-CM Document 166 Filed 07/19/23 Page 28 of 28




Dated: July 19, 2023
       New York, New York

BELDOCK LEVINE & HOFFMAN LLP                GIDEON ORION OLIVER



By:                                         __________________________
       Jonathan C. Moore                    277 Broadway, Suite 1501
       David B. Rankin                      New York, NY 10007
       Luna Droubi                          t: 718-783-3682
       Marc Arena                           f: 646-349-2914
       Deema Azizi                          Gideon@GideonLaw.com
       Katherine “Q” Adams
       Regina Powers                        COHEN&GREEN P.L.L.C.
       Keegan Stephan

99 Park Avenue, PH/26th Floor
New York, NY 10016                          By:
     t: 212-490-0400                               Elena L. Cohen
     f: 212-277-5880                               J. Remy Green
     e: jmoore@blhny.com                           Jessica Massimi
         drankin@blhny.com
         ldroubi@blhny.com                  1639 Centre Street, Suite 216
         marena@blhny.com                   Ridgewood (Queens), NY 11385
         dazizi@blhny.com                       t: (929) 888-9480
         qadams@blhny.com                       f: (929) 888-9457
         rpowers@blhny.com                      e: elena@femmelaw.com
         kstephan@blhny.com                         remy@femmelaw.com
                                                    jessica@femmelaw.com

WYLIE STECKLOW PLLC                         LORD LAW GROUP PLLC



__________________________
By: Wylie Stecklow                          ___________________________
Wylie Stecklow PLLC
                                            Masai I. Lord
Carnegie Hall Tower                         14 Wall St., Ste 1603
152 W. 57th Street, 8th FLoor               New York, NY 10005
NY NY10019                                  P: 718-701-1002
(t) 212 566 8000 x3                         E: lord@nycivilrights.nyc
(f) 212 202 4952
Ecf@wylielaw.com




                                     24
